                                                                   1   Gregory A. Vega, Esq. (CABN 141477)
                                                                       Ricardo Arias, Esq. (CABN 321534)
                                                                   2   Philip B. Adams, Esq. (CABN 317948)
                                                                   3   SELTZER CAPLAN McMAHON VITEK
                                                                       A Law Corporation
                                                                   4   750 B Street, Suite 2100
                                                                   5   San Diego, California 92101-8177
                                                                       Telephone: (619) 685-3003
                                                                   6   Facsimile: (619) 685-3100
                                                                   7   E-Mail:      vega@scmv.com; padams@scmv.com;
                                                                                    arias@scmv.com
                                                                   8
                                                                   9   Attorneys for Defendant DUNCAN D. HUNTER

                                                                  10                       UNITED STATES DISTRICT COURT
                                                                  11                    SOUTHERN DISTRICT OF CALIFORNIA
                                                                  12                                (Hon. Thomas J. Whelan)
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   UNITED STATES OF AMERICA,                Case No. 18-CR-3677-W
                                    750 B STREET, SUITE 2100




                                                                  14                                            MEMORANDUM OF POINTS AND
                                                                                       Plaintiff,
                                                                  15                                            AUTHORITIES IN SUPPORT OF
                                                                                                                MOTION TO DISMISS INDICTMENT
                                                                  16             v.
                                                                                                                FOR VIOLATION OF SPEECH OR
                                                                  17                                            DEBATE CLAUSE OF THE
                                                                       DUNCAN D. HUNTER,
                                                                                                                CONSTITUTION
                                                                  18
                                                                                       Defendant.               Date:         July 1, 2019
                                                                  19                                            Time:         10:00 a.m.
                                                                                                                Courtroom:    3C
                                                                  20                                            Judge:        Hon. Thomas J. Whelan
                                                                  21   ///
                                                                  22   ///
                                                                  23   ///
                                                                  24   ///
                                                                  25   ///
                                                                  26   ///
                                                                  27   ///
                                                                  28   ///

                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                      18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1                                               TABLE OF CONTENTS
                                                                   2                                                                                                                             Page
                                                                   3   I.     INTRODUCTION .................................................................................................. 6
                                                                   4   II.    STATEMENT OF FACTS ..................................................................................... 7
                                                                   5   III.   ARGUMENT .......................................................................................................... 9
                                                                   6          A.       The Speech or Debate Clause Guarantees Legislative Branch
                                                                                       Independence ................................................................................................ 9
                                                                   7
                                                                                       1.       Scope of the Clause. ......................................................................... 11
                                                                   8
                                                                                       2.       Application of the Clause................................................................. 12
                                                                   9
                                                                              B.       The Speech or Debate Clause Privilege Applies Equally to
                                                                  10                   Congressional Staff .................................................................................... 15
                                                                  11          C.       The Speech or Debate Clause Provides for Both Immunity from Suit
                                                                                       and a Non-Disclosure Privilege.................................................................. 16
                                                                  12
SELTZER CAPLAN MCMAHON VITEK




                                                                              D.       The Speech or Debate Clause Protects Against the Presentation of
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13                   Legislative act evidence to the grand jury in order to obtain an
                                    750 B STREET, SUITE 2100




                                                                                       Indictment ................................................................................................... 18
                                                                  14
                                                                              E.       Courts Must Look Beyond the Indictment to Determine if Speech or
                                                                  15                   Debate Clause is Implicated ....................................................................... 20
                                                                  16   IV.    CONCLUSION..................................................................................................... 21
                                                                  17
                                                                  18
                                                                  19
                                                                  20
                                                                  21
                                                                  22
                                                                  23
                                                                  24
                                                                  25
                                                                  26
                                                                  27
                                                                  28
                                                                                                                                       2
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                                                         18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1                                             TABLE OF AUTHORITIES
                                                                   2                                                                                                                      Page(s)
                                                                   3   Cases
                                                                   4   Barr v. Matteo
                                                                         360 U.S. 564 (1959) ................................................................................................... 13
                                                                   5
                                                                       Brown & Williamson Tobacco Corp. v. Williams
                                                                   6      62 F.3d 408 (D.C. Cir. 1995) ............................................................. 12, 13, 14, 15, 17
                                                                   7   Consumer Union of U.S., Inc. v. Periodical Correspondents Ass’n
                                                                         515 F.2d 1341 (D.C. Cir. 1975) ................................................................................. 12
                                                                   8
                                                                       Dennis v. Sparks
                                                                   9     449 U.S. 24 (1980) ..................................................................................................... 13
                                                                  10   Doe v. McMillan
                                                                         412 U.S. 306 (1973) ................................................................................................... 11
                                                                  11
                                                                       Eastland v. US Servicemen's Fund
                                                                  12     421 U.S. 491 (1975) ..................................................................... 10, 11, 12, 13, 14, 21
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   Fremont Energy Corp. v. Seattle Post Intelligencer
                                    750 B STREET, SUITE 2100




                                                                          688 F.2d 1285 (9th Cir. 1982) ................................................................................... 15
                                                                  14
                                                                       Gravel v. US
                                                                  15     408 U.S. 606 (1972) ............................................................... 10, 11, 12, 13, 14, 15, 18
                                                                  16   Hearst v. Black
                                                                         87 F.2d 68 (D.C. Cir. 1936) ....................................................................................... 13
                                                                  17
                                                                       Helstoski v. Meanor
                                                                  18     442 U.S. 500 (1979) ................................................................................................... 11
                                                                  19   Hill v. Colorado
                                                                          530 U.S. 703 (2000) ................................................................................................... 21
                                                                  20
                                                                       In re Grand Jury Subpoenas
                                                                  21       571 F.3d 1200 (D.C. Cir. 2009) ..................................................................... 14, 15, 16
                                                                  22   In re Winship
                                                                           397 U.S. 358 (1970) ................................................................................................... 21
                                                                  23
                                                                       Johnson v. Louisiana
                                                                  24      406 U.S. 380 (1972) ................................................................................................... 21
                                                                  25   Kilbourn v. Thompson
                                                                          103 U.S. 168 (1881) ............................................................................................. 11, 18
                                                                  26
                                                                       Maddox v. Williams
                                                                  27     855 F. Supp. 406 (D.D.C. 1994) ................................................................................ 13
                                                                  28   McAdams v. McSurely
                                                                                                                                       3
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                                                       18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1       438 U.S. 189 (1978) ................................................................................................... 12
                                                                   2   McGrain v. Daugherty
                                                                         273 U.S. 135 (1927) ................................................................................................... 12
                                                                   3
                                                                       McSurely v. McClellan
                                                                   4     553 F.2d 1277 (D.C. Cir. 1976) ............................................................... 11, 12, 13, 16
                                                                   5   Miller v. Transamerican Press, Inc.
                                                                          709 F.2d 524 (9th Cir.1983) ................................................................................ 13, 15
                                                                   6
                                                                       MINPECO, S.A. v. Conticommodity Serv., Inc.
                                                                   7     844 F.2d 856 (D.C. Cir. 1988) ....................................................................... 13, 15, 17
                                                                   8   Pentagen Technologies Int 'l, Ltd. v. Committee on Appropriations
                                                                         20 F. Supp.2d 41, 43-44 (D.D.C. 1998), aff'd, 194 F.3d 174 (D.C. Cir.
                                                                   9     1999) .......................................................................................................................... 13
                                                                  10   Powell v. McCormack
                                                                         295 U.S. 486 (1969) ................................................................................................... 19
                                                                  11
                                                                       S.E.C. v. Committee on Ways and Means
                                                                  12      161 F. Supp. 3d 199 (S.D.N.Y. 2015) ....................................................................... 11
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   Tavoulareas v. Piro
                                    750 B STREET, SUITE 2100




                                                                          527 F. Supp. 676 (D.D.C. 1981) ............................................................................... 12
                                                                  14
                                                                       U.S. v. Brewster
                                                                  15      408 U.S. 501 (1972) ................................................................................................... 21
                                                                  16   U.S. v. Helstoski
                                                                          442 U.S. 477 (1979) ............................................................................................. 13, 21
                                                                  17
                                                                       U.S. v. Peoples Temple of the Disciples of Christ
                                                                  18      515 F. Supp. 246 (D.D.C. 1981) .......................................................................... 13, 18
                                                                  19   United States v. Biaggi
                                                                         853 F.2d 89 (2d Cir. 1988) ........................................................................................ 16
                                                                  20
                                                                       United States v. Dowdy
                                                                  21     479 F.2d 213 (4th Cir. 1973) ..................................................................................... 20
                                                                  22   United States v. Durenberger
                                                                         No. 3-93-65, 1993 WL 738477, at *5 (D. Minn. Dec. 3, 1993) ................................ 19
                                                                  23
                                                                       United States v. Eilberg
                                                                  24     465 F. Supp. 1080 (E.D. PA. 1979) ........................................................................... 12
                                                                  25   United States v. Helstoski
                                                                         635 F.2d 200 (3d Cir. 1980) ...................................................................................... 19
                                                                  26
                                                                       United States v. Johnson
                                                                  27     383 U.S. 169 (1966) ....................................................................................... 10, 11, 18
                                                                  28   United States v. Myers
                                                                                                                                           4
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                                                             18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1       635 F.2d 932 (2nd Cir. 1980) .............................................................................. 10, 11
                                                                   2   United States v. People’s Temple
                                                                         515 F. Supp. 246 (D.D.C.1981) ................................................................................. 17
                                                                   3
                                                                       United States v. Rayburn House Office Building, Room 2113, Washington, DC
                                                                   4     20515 497 F.3d 654 (2007)........................................................................ 9, 14, 15, 17
                                                                   5   United States v. Renzi
                                                                         651 F.3d 1012 (9th Cir. 2011) ....................................................................... 17, 19, 20
                                                                   6
                                                                       United States v. Rostenkowski
                                                                   7     59 F.3d 1291 (D.C. Cir. 1995) ....................................................................... 18, 19, 20
                                                                   8   United States v. Swindall
                                                                         971 F.2d 1531 (11th Cir. 1992) ........................................................................... 19, 20
                                                                   9
                                                                       United Trans. Union v. Springfield Terminal Ry. Co.
                                                                  10     113 Lab. Cas. ,r 11,643 (D. Maine 1989) .................................................................. 12
                                                                  11   Webster v. Sun Co., Inc.
                                                                         561 F. Supp. 1184 (D.D.C. 1983) .............................................................................. 12
                                                                  12
SELTZER CAPLAN MCMAHON VITEK




                                                                       Wilkinson v. O'Neil
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13      1983 WL 30230 (D. Guam App. Div. ....................................................................... 12
                                    750 B STREET, SUITE 2100




                                                                  14   Youngblood v. DeWeese
                                                                         352 F.3d 836 (3rd Cir. 2003) ..................................................................................... 10
                                                                  15
                                                                       Other Authorities
                                                                  16
                                                                       18 U.S.C. section 371........................................................................................................ 7
                                                                  17
                                                                       Treatises
                                                                  18
                                                                       Federal Rule of Criminal Procedure 12(b)(3)(A)(v) ........................................................ 9
                                                                  19
                                                                       Regulations
                                                                  20
                                                                       United States Constitution, Article I, section 6 clause 1 ................................................ 10
                                                                  21
                                                                  22
                                                                  23
                                                                  24
                                                                  25
                                                                  26
                                                                  27
                                                                  28
                                                                                                                                        5
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                                                        18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1         COMES NOW Defendant DUNCAN D. HUNTER, by and through his attorneys,
                                                                   2   Gregory A. Vega, Ricardo Arias and Philip B. Adams and respectfully moves the Court
                                                                   3   to Dismiss the Indictment for Violation of       the Speech or Debate Clause of the
                                                                   4   Constitution.
                                                                   5                                  I.    INTRODUCTION
                                                                   6         This case concerns the Speech or Debate Clause of the United States
                                                                   7   Constitution: “for any Speech or Debate in either House, they [Senators and
                                                                   8   Representatives] shall not be questioned in any other place.” U.S. Const., art. I, § 6,
                                                                   9   cl. 1. This Clause – which applies to all activities within the “legislative sphere” and,
                                                                  10   among other things, privileges Members of Congress absolutely from having to disclose
                                                                  11   legislative materials – is a fundamental pillar of Congress’s independence and critically
                                                                  12   important relationship with the other branches of the government. The issue arises as a
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   result of the Government’s search and seizure of paper and electronic records from the
                                    750 B STREET, SUITE 2100




                                                                  14   district congressional office of California Congressman Duncan D. Hunter
                                                                  15   (“Congressman Hunter”) on February 23, 2017 without the Congressman having the
                                                                  16   opportunity to segregate privileged material. That same day, grand jury subpoenas were
                                                                  17   also issued in this matter, including one on Congressman Hunter’s El Cajon
                                                                  18   congressional office and to individual members of his congressional staff. The grand
                                                                  19   jury subpoena to the Congressional Office of Duncan Hunter demanded production of
                                                                  20   the report from the Office of Congressional Ethics (“OCE”) and its related exhibits.
                                                                  21   The indictment must be dismissed because the Speech or Debate Clause protects the
                                                                  22   Member and his staff from producing legislative act materials or being questioned in
                                                                  23   any other place. In the discovery produced to date, members of Hunter’s Congressional
                                                                  24   staff were specifically questioned about the Congressman’s response to the OCE report
                                                                  25   and other legislative acts.
                                                                  26         The Speech or Debate Clause is a fundamental component of our constitutional
                                                                  27   system of Separation of Powers. The Clause does not immunize Members of Congress
                                                                  28   from the consequences of criminal misconduct or otherwise place them above the law.
                                                                                                                    6
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                          18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1   But as the Supreme Court has held, it does protect them from prosecution for their
                                                                   2   legislative activities and from having to disclose legislative records, absent their
                                                                   3   consent.
                                                                   4                             II.   STATEMENT OF FACTS
                                                                   5         Congressman Hunter was indicted on August 21, 2018, in a 60 count Indictment
                                                                   6   with offenses related to violating rules of the House of Representatives (“House”) and
                                                                   7   the Federal Election Commission (“FEC”) on the personal use of campaign funds and
                                                                   8   related offenses involving attempts to conceal the personal use in FEC filings. The
                                                                   9   indictment alleges the personal use of campaign funds over the course of a six year
                                                                  10   period (2010-2016). Count 1 charges Hunter and his wife, Margaret Hunter1 with
                                                                  11   conspiracy in violation of 18 U.S.C. § 371; Counts 2-44 charge wire fraud in violation
                                                                  12   of 18 U.S.C. §§ 1343 and 2; Counts 45-57 charge false filings with the FEC in violation
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   of 18 U.S.C. §§ 1519 and 2; and Counts 58-60 charge Prohibited Use of Campaign
                                    750 B STREET, SUITE 2100




                                                                  14   Contributions in violation of 52 U.S.C. §§ 30109(b) and 30114(b)(1) and 18 U.S.C. § 2.
                                                                  15         In 2016, Congressman Hunter became aware of expenditure issues confronting
                                                                  16   his campaign committee, Duncan D. Hunter for Congress (“Campaign”). He initially
                                                                  17   reimbursed the Campaign $17,310.92 and, through counsel, commenced an independent
                                                                  18   financial review of the Campaign. Out of an abundance of caution, he took corrective
                                                                  19   action in consultation with the Federal Election Commission (“FEC”) and, ultimately,
                                                                  20   the Hunters personally repaid the Campaign an additional $48,650.98.           As the
                                                                  21   Campaign’s Treasurer reported to the FEC:
                                                                  22         Duncan D. Hunter for Congress has undergone an independent financial
                                                                             review of all expenditures for the 2015-2016 cycle and identified
                                                                  23         unauthorized expenditures that have been deemed personal in nature. In
                                                                  24         addition, out of an abundance of caution, the campaign has deemed any
                                                                             expense without adequate support as necessary for reimbursement. As a
                                                                  25         result, Congressman Hunter has personally paid the campaign $48,650.98
                                                                  26
                                                                  27   1
                                                                        Margaret Hunter pleaded guilty to one Count of Conspiracy (18 U.S.C.§ 371) on June
                                                                  28   13, 2019.
                                                                                                                   7
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                        18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1         for these items inadvertently charged on the campaign card. The campaign
                                                                             has also implemented structural changes to ensure any errors will not be
                                                                   2         repeated.
                                                                   3
                                                                             Under advice from the Reports Analysis Division, the Committee will
                                                                   4         report that payment on November 4, 2016 as a Line 15 Other Receipt.2
                                                                   5   To fund the repayment, Congressman Hunter sold his home.
                                                                   6         Contemporaneous with the FEC dialogue, the Office of Congressional Ethics
                                                                   7   (“OCE”) initiated a review of the Campaign following a complaint from the watchdog
                                                                   8   group Citizens for Responsibility and Ethics in Washington (“CREW”). The OCE was
                                                                   9   created by the U.S. House of Representatives (“U.S. House”) in March of 2008 as an
                                                                  10   “independent, non-partisan office governed by a Board comprised of private citizens.”3
                                                                  11   While described as “independent,” the OCE is still a committee of the U.S. House: it
                                                                  12
SELTZER CAPLAN MCMAHON VITEK




                                                                       receives its entire budget from the U.S. House, and all of the staff are U.S. House
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   employees. Congressman Hunter declined to provide any information to the OCE
                                    750 B STREET, SUITE 2100




                                                                  14   during its inquiry in light of the then ongoing conversations and consultations with the
                                                                  15   FEC, and informed the House Ethics Committee that he stood ready to cooperate with
                                                                  16   it.
                                                                  17         Through materials provided in discovery, it appears that the government began its
                                                                  18   criminal investigation in early 2016, shortly after Congressman Hunter became the first
                                                                  19   sitting member of Congress to endorse the Presidential candidacy of Donald J. Trump
                                                                  20   on February 24, 2016. As the investigation progressed, the government obtained and
                                                                  21   executed search warrants, issued grand jury subpoenas, conducted interviews, took
                                                                  22   testimony, and engaged in covert investigative techniques.
                                                                  23         On February 23, 2017, FBI Agents executed search warrants at a number of
                                                                  24   locations, including Congressman Hunter’s Congressional Offices located at 1611 N.
                                                                  25
                                                                  26
                                                                       2
                                                                  27     See Misc. Report to FEC, Nov. 16, 2016 (http://docquery.fec.gov/cgi-
                                                                       bin/forms/C00433524/1126269/)(visited on June 19, 2019).
                                                                  28   3
                                                                         See https://oce.house.gov/about/ (visited on June 19, 2019).
                                                                                                                    8
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                         18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1   Magnolia Avenue, Suite 310, El Cajon, CA. 92020.4 The search warrant authorized the
                                                                   2   seizure of:
                                                                   3         1.      All computer systems, software, peripherals, and data storage devices;
                                                                   4         2.      All documents, including all temporary and permanent electronic files and
                                                                                     records, relating to the commission of the federal crimes listed above;
                                                                   5
                                                                             3.      User-attribution data to include data reflecting who used or controlled the
                                                                   6                 computer or electronic storage device at or around the time that data
                                                                                     reflecting criminal activity within the scope of this warrant was created,
                                                                   7                 accessed, deleted, including registry information, computer logs, user
                                                                                     profiles, and passwords, web-browsing history, cookies, electronic mail
                                                                   8                 stored on the computer or device, electronic address books, calendars,
                                                                                     instant messaging logs, electronically-stored photographs and video, file
                                                                   9                 structure and user created documents, including metadata.
                                                                  10         Joseph Kasper, Michael Harrison, Thomas Marquez, and Ricardo Terrazas,
                                                                  11   members of Hunter’s congressional staff were interviewed by the agents executing the
                                                                  12   search warrant.      The government also took and imaged their cell phones.            The
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   government also interviewed and obtained evidence from family members of Hunter,
                                    750 B STREET, SUITE 2100




                                                                  14   friends of Hunter, and supporters of Hunter.        These individuals and members of
                                                                  15   Hunter’s congressional staff were also subpoenaed to appear before the Grand Jury
                                                                  16   (Staff subpoenas).     The evidence obtained from the Congressional office of Hunter
                                                                  17   pursuant to the grand jury subpoena included the OCE Report and exhibits and also,
                                                                  18   testimony from congressional staff regarding the response to the OCE Report.
                                                                  19                                     III.   ARGUMENT
                                                                  20   A.    The Speech or Debate Clause Guarantees Legislative Branch Independence
                                                                  21         Federal Rule of Criminal Procedure 12(b)(3)(A)(v) permits a defendant to move
                                                                  22   to dismiss an indictment based on “an error in the grand jury proceeding.” The grand
                                                                  23
                                                                  24   4
                                                                        Prior and subsequent to the FBI’s search of Congressman Bill Jefferson’s
                                                                  25   congressional office in 2006, “it appears that no warrant to search a congressional office
                                                                       has ever been sought or obtained before.” Morton Rosenberg et al, Congressional
                                                                  26   Research Service Memorandum, Legal and Constitutional Issues Raised by Executive
                                                                  27   Branch Searches of Legislative Offices (June 30, 2006) at 3. That search was rendered
                                                                       unconstitutional. United States v. Rayburn House Office Building, Room 2113,
                                                                  28   Washington, DC 20515 (497 F.3d 654) (2007).
                                                                                                                     9
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                           18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1   jury subpoenaed and was presumably presented with the OCE Report and exhibits
                                                                   2   obtained from the Congressional Offices of Congressman Hunter in violation of the
                                                                   3   Speech or Debate Clause.
                                                                   4         The Speech or Debate Clause (Art. I, §6 cl.1) provides: “for any Speech or
                                                                   5   Debate in either House, [Members of Congress] shall not be questioned in any other
                                                                   6   Place.” The Member is thus protected for his legislative acts. The purpose of the
                                                                   7   Clause is:
                                                                   8         [T]o insure that the legislative function the Constitution allocates to
                                                                             Congress may be performed independently.
                                                                   9
                                                                  10         [T]he "central role" of the Clause is to "prevent intimidation of legislators
                                                                             by the Executive and accountability before a possibly hostile judiciary...."
                                                                  11
                                                                  12   Eastland v. US Servicemen's Fund, 421 U.S. 491, 502 (1975) (quoting Gravel v. US,
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   408 U.S. 606, 617 (1972)). " In the American governmental structure the clause serves
                                    750 B STREET, SUITE 2100




                                                                  14   the additional function of reinforcing the separation of powers so deliberately

                                                                  15   established by the Founders." United States v. Johnson, 383 U.S. 169, 178 (1966). See

                                                                  16   also Youngblood v. DeWeese, 352 F.3d 836, 839 (3rd Cir. 2003) ("Ensuring a strong

                                                                  17   and independent legislative branch was essential to the framers' notion of separation of

                                                                  18   powers .... The Speech or Debate Clause is one manifestation of this practical security

                                                                  19   for protecting the independence of the legislative branch."); United States v. Myers, 635

                                                                  20   F.2d 932, 935-36 (2nd Cir. 1980).

                                                                  21         The Speech or Debate Clause protects more than just words spoken on the floor

                                                                  22   of the House however, it extends to all matters that are “an integral part of the

                                                                  23   deliberative and communicative processes by which Members participate in their

                                                                  24   constitutional duties. Gravel v. United States, 408 U.S. 606, 625 (1972) (“The Speech or

                                                                  25   Debate Clause was designed to assure a co-equal branch of government wide freedom

                                                                  26   of speech, debate, and deliberation without intimidation or threats from the Executive

                                                                  27   Branch. It thus protects Members against prosecutions that directly impinge upon or

                                                                  28   threaten the legislative process.”) The Speech or Debate Clause protections extend to
                                                                                                                    10
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                          18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1   committee investigations; legislative fact finding; and other matters within the
                                                                   2   legislative purview. S.E.C. v. Committee on Ways and Means, 161 F. Supp. 3d 199, 236
                                                                   3   (S.D.N.Y. 2015) (The protections of the Speech or Debate Clause also extend to
                                                                   4   Congressional information gathering activities …because [a] legislative body cannot
                                                                   5   legislate wisely or effectively in the absence of information respecting the conditions
                                                                   6   which the legislation is intended to affect or change); See also, McSurely v. McClellan,
                                                                   7   553 F.2d 1277, 1286-87 (D.C. Cir. 1976). Legislative acts are defined as those which
                                                                   8   are “an integral part of the deliberative and communicative processes by which
                                                                   9   Members participate in committee or House proceedings with respect to the
                                                                  10   consideration and passage or rejection of proposed legislation or with respect to other
                                                                  11   matters which the Constitution places within the jurisdiction of either House. Gravel,
                                                                  12   408 U.S. at 625 (emphasis added)
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13         When the Speech or Debate Clause privilege applies, the protection is absolute.
                                    750 B STREET, SUITE 2100




                                                                  14   Eastland, 421 U.S. at 509. The Speech or Debate Clause … serves as a vital check upon
                                                                  15   the Executive and Judicial Branches to respect the independence of the Legislative
                                                                  16   Branch, not merely for the benefit of Members of Congress, but, more importantly, for
                                                                  17   the right of the people to be fully and fearlessly represented by their elected Senators
                                                                  18   and Congressman. United States v. Myers, 635 F.2d 932, 935-36 (2d Cir. 1980)
                                                                  19         Because "the guarantees of th[e] Clause are vitally important to our system of
                                                                  20   government," they "are entitled to be treated by the courts with the sensitivity that such
                                                                  21   important values require." Helstoski v. Meanor, 442 U.S. 500, 506 (1979). Accordingly,
                                                                  22   the Supreme Court has"[w]ithout exception ... read the Speech or Debate Clause broadly
                                                                  23   to effectuate its purposes." Eastland, 421 U.S. at 501. See also Doe v. McMillan, 412
                                                                  24   U.S. 306, 311 (1973); Gravel, 408 U.S. at 624; Johnson, 383 U.S. at 180; Kilbourn v.
                                                                  25   Thompson, 103 U.S. 168, 204 (1881).
                                                                  26         1.     Scope of the Clause.
                                                                  27         The courts, broadly construing the concept of legislative activity, "have plainly
                                                                  28   not taken a literalistic approach in applying the privilege.... Committee reports,
                                                                                                                    11
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                           18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1   resolutions, and the act of voting are equally covered," Gravel, 408 U.S. at 617; as are
                                                                   2   committee investigations and hearings, Eastland, 421 U.S. 491; as is information
                                                                   3   gathering in furtherance of legislative responsibilities because "'[a] legislative body
                                                                   4   cannot legislate wisely or effectively in the absence of information respecting the
                                                                   5   conditions which the legislation is intended to affect or change."'   Id. at 504 (quoting
                                                                   6   McGrain v. Daugherty, 273 U.S. 135, 175 (1927)).
                                                                   7         This includes informal information gathering. See, e.g., Brown & Williamson
                                                                   8   Tobacco Corp. v. Williams, 62 F.3d 408 (D.C. Cir. 1995) (documents delivered to
                                                                   9   committee voluntarily by private citizen protected); McSurely v. McClellan, 553 F.2d
                                                                  10   1277, 1287 (D.C. Cir. 1976) (en banc), cert. granted, 434 U.S. 888 (1977), cert.
                                                                  11   dismissed sub nom. McAdams v. McSurely, 438 U.S. 189 (1978).5
                                                                  12         The scope of the Speech or Debate Clause also includes communications by a
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   Member in furtherance of the House’s constitutional prerogative to make and enforce its
                                    750 B STREET, SUITE 2100




                                                                  14   own Rules. Consumer Union of U.S., Inc. v. Periodical Correspondents Ass’n, 515 F.2d
                                                                  15   1341, 1351(D.C. Cir. 1975). The OCE Report and a Members response would clearly
                                                                  16   come within the scope of the privilege. See United States v. Eilberg, 465 F. Supp. 1080,
                                                                  17   1082-1083 (E.D. PA. 1979).
                                                                  18         2.    Application of the Clause.
                                                                  19         In practice, the Speech or Debate privilege has three broad components. First, the
                                                                  20   Clause provides immunity for all actions "within the 'legislative sphere,'… even though
                                                                  21   the [ ] conduct, if performed in other than legislative contexts, would in itself be
                                                                  22   unconstitutional or otherwise contrary to criminal or civil statutes." McMillan, 412 U.S.
                                                                  23   at 312-13 (quoting Gravel, 408 U.S. at 624-25). Second, the Clause bars the prosecutor
                                                                  24   in a criminal case - and parties to a civil suit- against a Member of Congress from
                                                                  25
                                                                  26   5
                                                                        See also United Trans. Union v. Springfield Terminal Ry. Co., 113 Lab. Cas. ,r 11,643
                                                                  27   (D. Maine 1989); Webster v. Sun Co., Inc., 561 F. Supp. 1184, 1189-90 (D.D.C. 1983),
                                                                       vacated and remanded on other grounds, 731 F.2d 1
                                                                  28   (D.C. Cir. 1984); Wilkinson v. O'Neil, 1983 WL 30230 (D. Guam App. Div.
                                                                       1983); Tavoulareas v. Piro, 527 F. Supp. 676, 680 (D.D.C. 1981).
                                                                                                                    12
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                          18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1   advancing their case by "[r]evealing information as to a legislative act." U.S. v.
                                                                   2   Helstoski, 442 U.S. 477,490 (1979).      Third, the Clause provides a non-disclosure
                                                                   3   privilege. Gravel, 408 U.S. 606. This aspect of the privilege protects Members against
                                                                   4   having to testify as to privileged matters and having to produce privileged documents.6
                                                                   5   The Supreme Court draws no distinctions between these three components. Rather, it
                                                                   6   has stated unequivocally that when the Speech or Debate applies, it is "absolute."
                                                                   7   Eastland, 421 U.S. at 501, 503, 507, 509-10, 510 n.16; Gravel, 408 U.S. at 623 n.14;
                                                                   8   Barr v. Matteo, 360 U.S. 564, 569 (1959).
                                                                   9         In Brown & Williamson, a tobacco company subpoenaed from two House
                                                                  10   committee Members documents that apparently had been taken from the company's law
                                                                  11   firm. The company had no apparent interest in "testimonial inferences." Instead, the
                                                                  12   company wanted the documents for use in a tort case against the individual who
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   allegedly took the documents, and to assist it in responding to a committee investigation
                                    750 B STREET, SUITE 2100




                                                                  14   of tobacco health and safety issues. Maddox v. Williams, 855 F. Supp. 406 (D.D.C.
                                                                  15   1994), aff'd sub nom. Brown & Williamson, 62 F.3d 408. The Court said no:
                                                                  16         We do not accept the proposition that the testimonial immunity of the
                                                                             Speech or Debate Clause only applies when Members or their aides are
                                                                  17         personally questioned. Documentary evidence can certainly be as revealing
                                                                  18         as oral communications - even if only indirectly when, as here, the
                                                                             documents in question ... do not detail specific congressional actions. But
                                                                  19         indications as to what Congress is looking at provide clues as to what
                                                                  20         Congress is doing, or might be about to do and this is true whether or not
                                                                             the documents are sought for the purpose of inquiring into (or frustrating)
                                                                  21         legislative conduct or to advance some other goals.
                                                                  22
                                                                  23   Brown & Williamson, 62 F.3d at 420 (emphasis added).
                                                                  24
                                                                       6
                                                                  25     Testimony: Dennis v. Sparks, 449 U.S. 24, 30 (1980) (dicta); Gravel, 408 U.S. at
                                                                       615-16; Miller v. Transamerican Press, Inc., 709 F.2d 524, 528-29 (9th Cir.1983).
                                                                  26   Documents: Brown & Williamson, 62 F.3d 408; MINPECO, S.A. v. Conticommodity
                                                                       Serv., Inc., 844 F.2d 856, 859-61 (D.C. Cir. 1988); McSurely, 553 F.2d at 1296-97;
                                                                  27   Hearst v. Black, 87 F.2d 68, 71-72 (D.C. Cir. 1936); Pentagen Technologies Int 'l, Ltd.
                                                                       v. Committee on Appropriations, 20 F. Supp.2d 41, 43-44 (D.D.C. 1998), aff'd, 194 F.3d
                                                                  28   174 (D.C. Cir. 1999) (per curiam); U.S. v. Peoples Temple of the Disciples of Christ,
                                                                       515 F. Supp. 246, 248-49 (D.D.C. 1981).
                                                                                                                    13
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                          18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1         The Court also explicitly rejected the company's argument, derived from an
                                                                   2   earlier Third Circuit case, that "even though the Speech or Debate Clause bars the use of
                                                                   3   documents as evidence against Members, it does not privilege them against 'discovery'":
                                                                   4         To the extent that the Third Circuit has adopted a special rule for the
                                                                             testimonial use of documents, we therefore disagree. None of the Supreme
                                                                   5         Court's opinions acknowledges such a distinction....[and] our own circuit
                                                                   6         precedent precludes our making this distinction between documentary and
                                                                             oral testimony.... [T]he nature of the use to which documents will be put -
                                                                   7         testimonial or evidentiary- is immaterial if the touchstone is interference
                                                                   8         with legislative activities. That is the rationale attributed to the Clause in
                                                                             our most apposite precedents, and it necessarily governs our decision
                                                                   9         today.
                                                                  10
                                                                       Id. at 420-21 (emphasis added). The Court could not have been clearer that the Clause
                                                                  11
                                                                       bars absolutely the disclosure of legislative records where a Member has not consented.7
                                                                  12
SELTZER CAPLAN MCMAHON VITEK




                                                                       The Court later held that in accordance with “the Constitution and the Supreme Court's
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13
                                    750 B STREET, SUITE 2100




                                                                       case law, courts must protect, without qualification, a Member's speech in an official
                                                                  14
                                                                       congressional disciplinary proceeding.” In re Grand Jury Subpoenas, 571 F.3d 1200,
                                                                  15
                                                                       1207 (D.C. Cir. 2009). The Court held that the “Member's communications constitute
                                                                  16
                                                                       "Speech ... in either House" and thus fall within the "heart of the Clause." Gravel, 408
                                                                  17
                                                                       U.S. at 625, 92 S.Ct. 2614.” Id. at 1207.
                                                                  18
                                                                             As the D.C. Circuit has also held: “The bar on compelled disclosure is absolute,
                                                                  19
                                                                       see Eastland, 421 U.S. at 503, and there is no reason to believe that the bar does not
                                                                  20
                                                                       apply in the criminal as well as the civil context.” United States v. Rayburn House
                                                                  21
                                                                       Office Building, Room 2113, Washington, DC 20515 (497 F.3d 654) (2007) at 660.
                                                                  22
                                                                       Further:
                                                                  23
                                                                             [C]ompelled disclosure clearly tends to disrupt the legislative process:
                                                                  24
                                                                  25
                                                                  26
                                                                       7
                                                                         Brown & Williamson also contradicts the lower court's effort to ground its holding on
                                                                       the notion that "[t]he purpose of the Speech or Debate Clause is not to promote or
                                                                  27   maintain secrecy in legislative activity." 432 F. Supp.2d at 112. "We do not share the
                                                                       Third Circuit's conviction that democracy's 'limited toleration for secrecy' is inconsistent
                                                                  28   with an interpretation of the Speech or Debate Clause that would permit Congress to
                                                                       insist on the confidentiality of investigative files." 62 F.3d at 420.
                                                                                                                     14
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                            18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1          exchanges between a Member of Congress and the Member’s staff or
                                                                              among Members of Congress on legislative matters may legitimately
                                                                   2          involve frank or embarrassing statements; the possibility of compelled
                                                                   3          disclosure may therefore chill the exchange of views with respect to
                                                                              legislative activity. This chill runs counter to the Clause’s purpose of
                                                                   4          protecting against disruption of the legislative process.
                                                                   5
                                                                       Id. at 661; see also In re Grand Jury Subpoenas, 571 F.3d at 1203 (reversing lower
                                                                   6
                                                                       court order that declined to quash subpoena, directed to Member’s lawyers, for Member
                                                                   7
                                                                       records); Brown & Williamson, 62 F.3d at 421 (“A party is no more entitled to compel
                                                                   8
                                                                       congressional testimony – or production of documents – than it is to sue
                                                                   9
                                                                       congressmen.”); MINPECO, 844 F.2d at 859-61 (affirming lower court order quashing
                                                                  10
                                                                       document subpoena to House subcommittee); Miller, 709 F.2d at 528-30 (indicating in
                                                                  11
                                                                       dicta that legislative records protected); Fremont Energy Corp. v. Seattle Post
                                                                  12
SELTZER CAPLAN MCMAHON VITEK




                                                                       Intelligencer, 688 F.2d 1285, 1286 (9th Cir. 1982) (noting with no disapproval district
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13
                                    750 B STREET, SUITE 2100




                                                                       court’s quashal, on Speech or Debate grounds, of subpoena duces tecum to former
                                                                  14
                                                                       Congressman “insofar as the subpoena related to [former Member’s] legislative
                                                                  15
                                                                       activities”).
                                                                  16
                                                                       B.     The Speech or Debate Clause Privilege Applies Equally to Congressional
                                                                  17          Staff
                                                                  18          The Member and his aides are to be treated as one. Gravel, 408 U.S. 606 at 616.
                                                                  19   As such, the protections arising under the Clause must apply equally, and extended to,
                                                                  20   staff who perform legislative activities on behalf of the representative. Id. Speech or
                                                                  21   Debate protections cannot be waived by staff. Gravel, 408 U.S. at 621-622.
                                                                  22          In addition to issuing a subpoena to the Congressional Offices of Congressman
                                                                  23   Hunter, the government also interviewed members of his Congressional staff. Joseph
                                                                  24   Kasper, Chief of Staff to Congressman Hunter was impermissibly questioned about his
                                                                  25   role in drafting Congressman Hunter’s response to the OCE Report and in attempting to
                                                                  26   secure a fact-finding visit of the Navy’s Sixth Fleet in Naples, Italy for Congressman
                                                                  27   Hunter.    The inspection of military bases is legislative activity for Congressional
                                                                  28   members of House Committees and Subcommittees. In United States v. Biaggi, 853
                                                                                                                  15
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                        18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1   F.2d 89, 103 (2d Cir. 1988) the Second Circuit concluded that even informal legislative
                                                                   2   fact-finding conducted by Congressman Biaggi during his Florida trips was protected
                                                                   3   under the Speech or Debate Clause. See also, McSurely, 553 F2d at 1286-87 (We have
                                                                   4   no doubt that information gathering, whether by the issuance of subpoenas or field work
                                                                   5   by a Senator or his staff, is essential to informed deliberation over proposed legislation
                                                                   6   …”The acquisition of knowledge through informal sources is a necessary concomitant
                                                                   7   of legislative conduct and thus should be within the ambit of the privilege so that
                                                                   8   congressmen are able to discharge their constitutional duties properly.”)
                                                                   9         The budgeting process for the military is a matter that the Constitution places
                                                                  10   solely within the jurisdiction of Congress. As such, legislative fact-finding trips to
                                                                  11   inspect military bases is a central part of a Members role in the budgeting process,
                                                                  12   which is solely within the purview of Congress. Consequently, the interview of Kasper
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   and his role in drafting Congressman Hunter’s response to the OCE Report and in
                                    750 B STREET, SUITE 2100




                                                                  14   attempting to secure the approval for the fact-finding visit implicated the Speech or
                                                                  15   Debate Clause. In re Grand Jury Subpoenas, 571 F.3d 1200 (D.C. Cir. 2009)
                                                                  16         The information provided by Joseph Kasper to the government of conversations
                                                                  17   he had with Congressman Hunter in drafting Congressman Hunter’s response to the
                                                                  18   OCE Report and in attempting to arrange a legislative fact-finding mission of the
                                                                  19   Navy’s Sixth Fleet in Naples, Italy was undoubtedly a legislative act for which the
                                                                  20   Speech or Debate Clause was meant to protect. The Government here investigated
                                                                  21   whether Congressman Hunter abused his official powers, specifically, his power to
                                                                  22   conduct legislative fact-finding. Congressman Hunter did not waive his Speech or
                                                                  23   Debate Clause Privilege to permit Kasper to be interviewed by the government
                                                                  24   regarding his response to the OCE Report or the scheduling of a fact-finding trip.
                                                                  25   C.    The Speech or Debate Clause Provides for Both Immunity from Suit and a
                                                                             Non-Disclosure Privilege
                                                                  26
                                                                             There is a split in the Circuits on whether the Speech or Debate Clause protects a
                                                                  27
                                                                       privilege not to disclose documents that fall within the sphere of legitimate legislative
                                                                  28
                                                                                                                    16
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                           18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1   activity, as opposed to a privilege that merely bars the evidentiary use of such
                                                                   2   documents. The D.C. Circuit has determined that the Speech or Debate Clause provides
                                                                   3   a broad non-disclosure privilege for documents that fall within the sphere of legitimate
                                                                   4   legislative activity. See, MINPECO, S.A. v. Conticommodity Service, Inc. 844 F.2d 856
                                                                   5   (D.C. Cir. 1988) The broad Speech or Debate Clause non-disclosure privilege has also
                                                                   6   been confirmed in Brown & Williamson Tobacco Corp. v. Williams, 62 F.3d 408 (D.C.
                                                                   7   Cir. 1995) These cases stand for the proposition that it should not matter whether a
                                                                   8   Congressman is being investigated for criminal activity, the clause does not offer less
                                                                   9   protection where the Executive Branch is investigating, a legislator’s allegedly illegal
                                                                  10   activity. The bar on compelled disclosure is absolute…. United States v. Rayburn
                                                                  11   House Office Building, Room 2113, Washington D.C. 20151, 497 F.3d 654, 660 (D.C.
                                                                  12   Cir. 2007). See also, United States v. People’s Temple, 515 F. Supp. 246, 248-49
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   (D.D.C.1981) (granting motion to quash subpoena for documents concerning House
                                    750 B STREET, SUITE 2100




                                                                  14   committee’s investigation of congressman’s death in Guyana; “Once it is determined …
                                                                  15   that [a Member’s] actions fall within the legitimate legislative sphere, judicial inquiry is
                                                                  16   at an end…)
                                                                  17         The Ninth Circuit, however, created an outlier in United States v. Renzi, 651 F.3d
                                                                  18   1012 (9th Cir. 2011) a decision that is profoundly flawed for multiple reasons. Renzi
                                                                  19   was a Congressman charged with extortion, wire fraud and other crimes who had
                                                                  20   entered into a quid pro quo arrangement with two private citizens to obtain repayment
                                                                  21   of a loan for a future promise related to support for public land exchange legislation.
                                                                  22   Renzi argued that improper “legislative act” evidence had been presented to the grand
                                                                  23   jury. The Ninth Circuit rejected Renzi’s argument and held that the Speech or Debate
                                                                  24   Clause did not provide a non-disclosure privilege. Renzi, 651 F. 3d at 1032.
                                                                  25         The decision in Renzi is at odds with clear Supreme Court precedent. As the
                                                                  26   Supreme Court makes clear:
                                                                  27         It is true that the Clause itself mentions only 'Senators and Representatives,'
                                                                             but prior cases have plainly not taken a literalistic approach in applying the
                                                                  28
                                                                                                                     17
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                            18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1         privilege…. Committee reports, resolutions, and the act of voting are
                                                                             equally covered; '(i)n short, . . . things generally done in a session of the
                                                                   2         House by one of its members in relation to the business before it.' Kilbourn
                                                                   3         v. Thompson, 103 U.S. 168, 204, 26 L.Ed. 377 (1881), quoted with
                                                                             approval in United States v. Johnson, 383 U.S., at 179, 86 S.Ct., at 755.
                                                                   4
                                                                   5   Gravel, at 617.
                                                                   6         The Government subpoenaed records from Congressman Hunter’s Congressional
                                                                   7   Office and interviewed congressional staff related to his response to the OCE Report
                                                                   8   and his legislative fact-finding responsibilities. The records necessarily included details
                                                                   9   of his response to the OCE Report and legislative fact-finding/oversight activities, and
                                                                  10   in accordance with Gravel and consistent Supreme Court case law is protected from
                                                                  11   disclosure under the Speech or Debate Clause. Legislative fact-finding is “an act which
                                                                  12   is an integral part of the deliberative budgeting process that is exclusively within the
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   purview of the Congress. The mere possibility that executive branch agents could
                                    750 B STREET, SUITE 2100




                                                                  14   search for records of a Member of Congress, by itself, significantly chill Congress'
                                                                  15   exercise of its budgetary oversight function to the detriment of the American people.
                                                                  16   See Peoples Temple, 515 F. Supp. at 249. It could also obstruct the normal give and
                                                                  17   take between House committees and the executive branch.            If the Court gives the
                                                                  18   government carte blanche to issue a subpoena, like the one at issue here, the government
                                                                  19   would have little incentive to work with Congress in matters related to criminal
                                                                  20   investigations and likely will have less respect for inter-branch comity. The result
                                                                  21   inevitably would be heightened tension and strain between the branches.
                                                                  22   D.    The Speech or Debate Clause Protects Against the Presentation of
                                                                             Legislative act evidence to the grand jury in order to obtain an Indictment
                                                                  23
                                                                  24         The key purpose of the Speech or Debate Clause is “to ‘prevent intimidation by
                                                                  25   the executive and accountability before a possibly hostile judiciary,’ and to ensure ‘that
                                                                  26   legislators are not distracted from or hindered in the performance of their legislative
                                                                  27   tasks by being called into court to defend their actions.’” United States v. Rostenkowski,
                                                                  28   59 F.3d 1291, 1297-98 (D.C. Cir. 1995) (quoting United States v. Johnson, 383 U.S.
                                                                                                                     18
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                           18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1   169, 181 (1974) and Powell v. McCormack, 295 U.S. 486, 505 (1969)) (internal
                                                                   2   citations omitted).   To give full effect to this purpose, a number of courts have
                                                                   3   concluded that “the Clause protects not only against the reference to Speech or Debate
                                                                   4   material on the face of the indictment but also against its use before the grand jury, at
                                                                   5   least under some circumstances.” Id. at 1298; see United States v. Renzi, 651 F.3d
                                                                   6   1012, 1031 (9th Cir. 2011); United States v. Swindall, 971 F.2d 1531, 1546-47 (11th
                                                                   7   Cir. 1992); United States v. Helstoski, 635 F.2d 200, 203-05 (3d Cir. 1980) (“Helstoski
                                                                   8   II”); United States v. Durenberger, No. 3-93-65, 1993 WL 738477, at *5 (D. Minn.
                                                                   9   Dec. 3, 1993).
                                                                  10         As the Third Circuit observed in Helstoski II, “the mere threat of an indictment is
                                                                  11   enough to intimidate the average congressman and jeopardize his independence. Yet, it
                                                                  12   was to prevent just such overreaching that the speech or debate clause came into being.”
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   Helstoski II, 635 F.2d at 205; see also Swindall, 971 F.2d at 1547 (noting “[i]t was an
                                    750 B STREET, SUITE 2100




                                                                  14   indictment, not a conviction, that hung over Swindall’s head when he lost his reelection
                                                                  15   bid”). Because the purpose of the Speech or Debate Clause could be vitiated by the use
                                                                  16   of Speech or Debate material before a grand jury, “[i]nvocation of the constitutional
                                                                  17   protection at a later stage cannot undo the damage. If it is to serve its purpose, the
                                                                  18   shield must be raised at the beginning.” Helstoski II, 635 F.2d at 205. In other words,
                                                                  19   “[w]hen a violation occurs in the grand jury phase, a member’s rights under the
                                                                  20   privilege must be vindicated in the grand jury phase.” Swindall, 971 F.2d at 1546-47.
                                                                  21         The Swindall case is particularly illustrative of the protections afforded by the
                                                                  22   Speech or Debate Clause before the grand jury. In that case, a former Member of
                                                                  23   Congress was convicted of making false statements to the grand jury based on his
                                                                  24   concealment of his involvement in a money-laundering scheme. Id. at 1534. A key
                                                                  25   portion of the government’s evidence against Swindall (both before the grand jury and
                                                                  26   at trial) was that, by virtue of his position as a member of the House Banking and
                                                                  27   Judiciary Committees, he must have known that the transactions at issue were criminal,
                                                                  28   contradicting his testimony before the grand jury.       Id. at 1539.    In essence, the
                                                                                                                    19
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                            18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1   government’s presentation allowed the “permissive inference . . . that Swindall
                                                                   2   performed legislative acts to acquire knowledge” about legislation criminalizing the
                                                                   3   transactions. Id. at 1546. The Eleventh Circuit held that the presentation of this
                                                                   4   evidence violated Swindall’s privilege under the Speech or Debate Clause, by
                                                                   5   introducing evidence of Swindall’s committee memberships “to prove that he performed
                                                                   6   a legislative act to acquire knowledge of the contents of the bills,” the government
                                                                   7   “virtually compel[led] Swindall to justify his legislative actions,” “which is precisely
                                                                   8   what the clause prohibits.” Id. Because the Speech or Debate material used against
                                                                   9   Swindall was “critical evidence leading to his indictment,” the court dismissed those
                                                                  10   counts affected by the violation. Id. at 1547.
                                                                  11   E.    Courts Must Look Beyond the Indictment to Determine if Speech or Debate
                                                                             Clause is Implicated
                                                                  12
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13         In order to fully secure the purpose of the legislator not having to be distracted
                                    750 B STREET, SUITE 2100




                                                                  14   from or hindered in his performance of his legislative tasks courts should look beyond
                                                                  15   the face of the indictment. See United States v. Renzi, 651 F.3d 1012, 1029 (9th Cir.
                                                                  16   2011) (holding that it may be necessary “to go behind the face of the indictment “
                                                                  17   because “[a] court cannot permit an indictment that depends on privileged material to
                                                                  18   stand …”); accord United States v. Rostenkowski, 59 F.3d 1291, 1298 (D.C Cir. 1995),
                                                                  19   Citing, United States v. Dowdy, 479 F.2d 213, 223 (4th Cir. 1973). (“If the speech or
                                                                  20   debate clause … is to be given any meaning, the validity of an indictment must be
                                                                  21   determined in the context of the proof which is offered to sustain it, or in the context of
                                                                  22   the facts adduced on a motion to dismiss it”).
                                                                  23         Courts must look beyond the face of the indictment in determining if the Speech
                                                                  24   or Debate Clause is implicated by the government’s actions for the reason so eloquently
                                                                  25   stated by the D.C. Circuit; … “Otherwise, a prosecutor could with impunity procure an
                                                                  26   indictment by inflaming the grand jury against a Member upon the basis of his Speech
                                                                  27   or Debate, subject only to the necessity of avoiding any reference to the privileged
                                                                  28   material on the face of the indictment.” Rostenkowski, 59 F.3d at 1298 (D.C. Cir. 1995)
                                                                                                                        20
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                           18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1                                   IV.    CONCLUSION
                                                                   2         The Speech or Debate Clause protects Members of Congress from being
                                                                   3   prosecuted or sued for legislative activities; bars prosecutors and private parties from
                                                                   4   using legislative acts to indict, convict or establish the liability of a Member; and
                                                                   5   prohibits disclosure of a Member's legislative activities without his consent, either by
                                                                   6   way of testimony or through disclosure of records.
                                                                   7         There are, of course, potential costs associated with this broad constitutional
                                                                   8   protection. "[W]ithout doubt the exclusion of [past legislative acts] will make
                                                                   9   prosecutions more difficult." Helstoski, 442 U.S. at 488. "[T]he broad protection granted
                                                                  10   by the Clause creates a potential for abuse." Eastland, 421 U.S. at 510. Notwithstanding,
                                                                  11   the Supreme Court and lower courts have repeatedly held that the Speech or Debate
                                                                  12   Clause must be broadly construed and applied because that was '"the conscious choice
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   of the Framers' buttressed and justified by history." Id. (quoting U.S. v. Brewster, 408
                                    750 B STREET, SUITE 2100




                                                                  14   U.S. 501, 516 (1972)).8
                                                                  15         That the Framers' "conscious choice" was a wise one is evidenced not only by the
                                                                  16   enduring vigor of our system of checks and balances, but also by the fact that,
                                                                  17   notwithstanding the Clause, the Department of Justice for more than 200 years has
                                                                  18   successfully investigated, charged and convicted Members of Congress who violated the
                                                                  19   law. In the last 30 years, for example, the Department has managed to convict over 25
                                                                  20
                                                                  21
                                                                  22
                                                                  23
                                                                       8
                                                                         Speech or Debate is hardly the only constitutional principle that we, as Americans,
                                                                  24   value and protect, notwithstanding potential costs. "[W]e ...    have always held that in
                                                                       criminal cases we would err on the side of letting the guilty go free rather than sending
                                                                  25   the innocent to jail. We have required proof beyond a reasonable doubt as 'concrete
                                                                       substance for the presumption of innocence."' Johnson v. Louisiana, 406 U.S. 380, 393
                                                                  26   (1972) (quoting In re Winship, 397 U.S. 358, 363 (1970)). And we tolerate offensive
                                                                       speech because we value free speech more. The "suppression of uncongenial ideas is the
                                                                  27   worst offense against the First Amendment." Hill v. Colorado, 530 U.S. 703, 746
                                                                       (2000).
                                                                  28
                                                                                                                    21
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                          18-CR-3677-W
                                                                       DISMISS INDICTMENT
                                                                   1   Members of Congress - without overstepping its constitutional bounds as would be the
                                                                   2   case should this Court Deny this motion.
                                                                   3
                                                                   4                                        Respectfully submitted,
                                                                   5   Dated: June 24, 2019                 SELTZER CAPLAN McMAHON VITEK
                                                                   6                                        A Law Corporation
                                                                   7
                                                                   8                                         By:    s/ Gregory A. Vega
                                                                                                                    Gregory A. Vega
                                                                   9                                                Ricardo Arias
                                                                  10                                                Philip B. Adams
                                                                                                            Attorneys for Defendant, DUNCAN D. HUNTER
                                                                  11
                                                                  12
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13
                                    750 B STREET, SUITE 2100




                                                                  14
                                                                  15
                                                                  16
                                                                  17
                                                                  18
                                                                  19
                                                                  20
                                                                  21
                                                                  22
                                                                  23
                                                                  24
                                                                  25
                                                                  26
                                                                  27
                                                                  28
                                                                                                                   22
                                                                       POINTS & AUTHORITIES IN SUPPORT OF MOTION TO                      18-CR-3677-W
                                                                       DISMISS INDICTMENT
